/;M CM@¢MU 1123

`"""'NASH, SPWDLER
oRlMSTAD a MccRAoz<EN

 

Sandra K. Fellows
c/o A_ffiliated Court Reporters __ _
- NUV 1 U 2014

2935 Old Highway 8
z § @ § ii ii LE`

St. Paul, Minncsota 55113
DATE DUE - UPON RECEIPT

 

luskin F. Wallace

Nash, Spindler, Griinstad & MCCi'acken ' 7
1425 Memorial Drive P'B`E`S
Manitowoc, Wiscons_in 54220 _NUV 2 6 gm é
11-5-14 '“ _
/
j?w?

Invoice Number: 8270
Re: John Doe 52 v. Mayo clinic Health System~Eau Claire et al

For one copy of the depositions of Dr. Susan Rowe, Dr. John Plewa, Di'. Ji}l Lenhai"c and
Vicki Vogler taken on October 22 and 23, 2014:

TOTAL: $617.89

Piease make check payable to Sandra K. Fellows (477-82~3096)
Please enclose copy of invoice or indicate invoice number on checkl

 

